TRULINCS 55426510 - SCOTT, All L JR - Unit: FTD-C-B


FROM: 55426510
TO:
SUBJECT: Amendment 821, Part A
DATE: 05/15/2024 02:53:57 PM



                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF VIRGINIA
                                             Norfolk Division


UNITED STATES OF AMERICA.
                Respondent,

V.                                                                        Case No. 2:23CR00076-001

ALI SCOTT
                 Movant.


                                      MOTION FOR REDUCTION IN SENTENCE
                                     PURSUANT TO AMENDMENT 821, PART A

     Comes now All Scott ("Mr. Scott"), acting In a pro se capacity, and respectfully moves the Court for reduction in his

sentence pursuant to Amendment 821, Part, and in support states as follows:

     1. Effective November 1, 2023, United States Sentencing Guidelines Amendment 821, Part A changed the assignment of

'status points" for criminal history calculations. For defendants with seven or more criminal history points, Amendment 821

reduces those defendants' status points to one point. For defendants with six or fewer criminal history points. Amendment

821 reduces those defendants’ status points to zero.

     2. Amendment 821, Part A removes two status points from Mr. Scott because Mr. Scott had three only criminal history

points. Therefore, Mr. Scott being seeks to have his sentence reduced to a term of imprisonment based on the current

sentence range which has been lowered by the Sentencing Commission.

     3.   Mr. Scott’s history and characteristics have not changed significantly since his incarceration. Therefore;

no reasonable argument can be made by the government for a rebalancing of the Section 3553(a) factors.

     Wherefore, Mr. Scott asks this Court to reduce his sentence appropriately.

     This the   2\ day of May, 2024.
                                                           Respectfully submitte

                                                                          L
                                                           Aii Scott
                                                           55426-510
                                                           Federal Correctional Institution
                                                           P.O. Box 2000
                                                           Joint Base MDL, NJ 08640

*The Government will be noticed by the Court's CM/ECF system as copying is nearly problematic for Mr. Scott.
